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    12                        CENTRAL DISTRICT OF CALIFORNIA
    13   FAOUR ABDALLAH                     )   Case No. 5:19-CV-01546 JGB (SHKx)
         FRAIHAT, et al.,                   )
    14                                      )
               Plaintiffs,                  )   ORDER RE: STIPULATION TO
    15                                      )   EXTEND TIME TO PRODUCE
    16                  v.                  )   INITIAL RESPONSES AFTER
                                            )   ENTRY OF THE PROTECTIVE
    17   U.S. IMMIGRATION AND               )   ORDER PURSUANT TO ECF NO.
         CUSTOMS ENFORCEMENT, et            )   150
    18   al.,                               )
                                            )   Before The Honorable Jesus G.
    19          Defendants.                 )   Bernal
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    20                                      )
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     1         This matter having come before this Court upon the Parties’ Stipulation to
     2   Extend Time to Produce Initial Responses After Entry of the Protective Order
     3   Pursuant to ECF No. 150, and good cause having been shown, IT IS HEREBY
     4   ORDERED:
     5         The Parties’ Stipulation is GRANTED. Defendants’ initial production is due
     6   on June 5, 2020, with additional production deadlines calculated therefrom.
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     9   Dated: June 5, 2020                   ___________________________
    10                                         The Honorable Jesus G. Bernal
                                               UNITED STATES DISTRICT JUDGE
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